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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3026
                                    )
           v.                       )
                                    )
CARLOS LOVERBOY SILVA,              )          MEMORANDUM AND ORDER
                                    )
                Defendant.          )
                                    )



     At the defendant’s hearing recently on the petition for
action on conditions of his release, I advised the defendant that
I thought he was not being truthful either to his supervising
officer or to the court.     I ordered him detained.          However, I
also said that in the event his two most recent drug tests came
back from the lab having tested negative, I might reconsider.
They did come back negative, and he has now filed a motion to re-
address his detention.


     The two negative tests demonstrate that his body is not
unusual in its metabolizing THC, the active ingredient in
marijuana.   That, in turn, demonstrates that he was fabricating
reasons for his positive tests in the past.            The negative results
also demonstrate that if he wants to, the defendant is able to
refrain from using marijuana, at least for a short period.                The
testimony at the hearing also established that he was not being
truthful with the court regarding the party on April 27, 2008.
He appears to be a liar and a manipulator.


     Being a liar and a manipulator, though, while posing
substantial difficulties in supervision, do not establish a
likelihood of nonappearance nor a danger to the safety of the
community.   The defendant’s drug use, if it continues, will
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establish a danger to the safety of the community; however, it
appears that if he will cooperate and participate in good faith
in treatment, he may be able to stay clean and out of jail until
trial.   Therefore, I have decided to give him one last
opportunity to demonstrate that he can be trusted on release.                 I
shall release the defendant once again, but under stringent
conditions requiring his residing in a supervised living
environment, employment, and his full participation in treatment.
These conditions will be strictly enforced.            Further violations
of conditions of release will not be tolerated.


     IT THEREFORE HEREBY IS ORDERED,

     The motion to reopen detention hearing, filing 29, is
granted in part. The pretrial services officer shall investigate
and report to the court and counsel whether there is space
available for defendant at a suitable halfway house living
environment outside of Lincoln, Nebraska, requiring employment
and intensive outpatient treatment, as well as the usual
conditions applicable.


     DATED this 2nd day of June, 2008.

                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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